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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                               COLUMBUS DIVISION

UNITED STATES OF AMERICA                *

                                        *
vs.
                                        *             CASE NO. 4:20-CR-7 (CDL)
AUBREY CRITTENDEN,
                                        *
        Defendant.
                                        *

                                    O R D E R

        A jury trial moratorium has been in effect in this District

since March due to the COVID-19 pandemic.                 That moratorium was

scheduled       to   expire   on   September    13,    2020,    and    the   Court

scheduled this case for trial to begin on September 14, 2020.

After     the    case   was   scheduled     for   trial,       the    jury   trial

moratorium was extended until October 19, 2020 due to continuing

concerns for the safety and health of trial participants related

to the ongoing COVID-19 pandemic.              This most recent jury trial

moratorium order, like the ones that preceded it, makes the

finding that a continuance of all criminal jury trials in this

district is justified due to COVID-19 concerns and that the

delay caused by the continuance is excludable for speedy trial

purposes.       The Court confirms this finding in the context of

this case, specifically finding that the interests of justice

associated with protecting the health and safety of all trial

participants substantially outweighs the rights of the defendant
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and the public to a speedier trial.              Accordingly, the trial of

this action is continued until December 7, 2020.                     The Court

finds    it     appropriate   to   explain      in   more   detail     why   this

continuance violates neither the defendant’s constitutional nor

statutory right to a speedy trial.

                                   BACKGROUND

        Defendant was indicted on February 12, 2020 and charged

with one count of possession of a firearm by a convicted felon.

Defendant had an initial appearance before a magistrate judge on

February 21, 2020, and he was arrested that day.1                    A pretrial

conference was scheduled for March 24, 2020.                Defendant filed a

motion for continuance on March 9, 2020, seeking a continuance

until     the    Court’s   next    trial     term.       The   Court     granted

Defendant’s motion and continued the trial until the Court’s

next trial term, which was scheduled to begin on September 9,

2020.     Order Granting Mot. to Continue, ECF No. 21.               Soon after

the Court granted the continuance, the Court issued a standing

order imposing a       sixty-day moratorium on all jury trials in

light of the COVID-19 pandemic.            M.D. Ga. Standing Order 2020-

01, ECF No. 22.       That moratorium was later extended to July 13,

2020 and then to September 13, 2020.                 M.D. Ga. Standing Order


1
  According to the Government, Defendant had been confined to the
Muscogee County Jail following his arrest on outstanding state law
arrest warrants. Mot. for Writ of Habeas Corpus Ad Prosequendum ¶ 2,
ECF No. 4; Mot. for Detention 1, ECF No. 9. He was arrested on the
federal charge on February 21, 2020. Arrest Warrant, ECF No. 15.


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2020-07, ECF No. 24; M.D. Ga. Standing Order No. 2020-08, ECF

No. 26.       Defendant’s trial date was moved to September 14, 2020—

the first day after the jury trial moratorium was set to expire.

      On    August      21,    2020,       the   Court    issued     a   standing    order

extending the temporary moratorium on jury trials until October

19,   2020       because      of    the    COVID-19      pandemic.         See    M.D.    Ga.

Standing Order 2020-10, ECF No. 41.                      The Court found “that the

right    of     defendants         in    criminal     cases   and    the    public       to   a

speedier trial during this extended moratorium is substantially

outweighed by the public interest of protecting the health and

safety of defendants, the case participants, court employees,

jurors, and the public, which can only be protected by this

moratorium on jury trials. The ends of justice require this

continuance.”          Id. at 2.            The Court further stated that the

period     of    the   jury        trial   moratorium—from         March    17,    2020       to

October 19, 2020—“shall be excluded under the Speedy Trial Act,

18 U.S.C. §3161(h)(7)(A).”                 Id.       Finally, the Court stated that

“any defendant in a criminal case shall have the right to file a

motion     for    a    speedier         trial,   which    shall     be   considered       and

decided by the judge assigned to the defendant’s case.”                                   Id.

Defendant has not filed a motion for a speedier trial.

      The Court ordered Defendant to show cause why the trial of

this action should not be continued.                     Order to Show Cause (Aug.

21, 2020), ECF No. 40.                   Defendant responded to the show cause


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order, noting that he was denied bond and that the Court entered

an order of detention.       Def.’s Resp. to Show Cause Order 1, ECF

No. 43.     Defendant further stated that he “cannot provide this

Court specific reasons to proceed to trial during the recently

extended moratorium.”2      Id.

                                  DISCUSSION

     The Speedy Trial Act states that the trial of any criminal

defendant who pleads not guilty must begin “within seventy days

from the filing date (and making public) of the information or

indictment, or from the date the defendant has appeared before a

judicial officer of the court in which such charge is pending,

whichever date last occurs.”             18 U.S.C. § 3161(c)(1).            If the

defendant    is   not    tried    within     the    proper    time      limit,   the

indictment   must   be    dismissed      upon      motion    by   the   defendant.

18 U.S.C. § 3162(a)(2).           But,   the    Speedy      Trial    Act   excludes

certain periods of time from the calculation of the seventy-day

limit, including a “period of delay resulting from a continuance

granted by any judge on his own motion or at the request of the

defendant or his counsel or at the request of the attorney for

the Government, if the judge granted such continuance on the

basis of his findings that the ends of justice served by taking


2
  The Government stated that it “is ready and willing to try this case
and does not seek to continue it” but that if Defendant did not
“provide sufficient reasons to proceed to trial during the moratorium,
the Government” would not oppose the continuance until the January
2021 trial term. Gov’t’s Resp. to Show Cause Order, ECF No. 42.


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such action outweigh the best interest of the public and the

defendant in a speedy trial.” Id. § 3161(h)(7)(A).                            Here, the

Court has explained why the ends of justice served by continuing

the     trial   in    light    of   the   COVID-19         pandemic      outweigh      the

interests of the public and the defendant in a speedier trial.

The period of the jury trial moratorium is therefore excluded

from the Speedy Trial Act’s seventy-day clock.

        The next question is when the trial should be rescheduled

for purposes of the Speedy Trial Act clock.                      Defendant appeared

for his initial appearance before a magistrate judge on February

21, 2020, so the speedy trial clock began to run on February 22,

2020.     See United States v. Hughes, 840 F.3d 1368, 1377 (11th

Cir. 2016) (“When the clock is triggered by a defendant’s first

appearance,     the    clock    begins     to    run       on   the    day    after    the

defendant’s appearance.”).           On March 9, 2020, Defendant sought a

continuance of the trial until the Court’s next trial term,

which was scheduled to begin September 9, 2020, because his

lawyer      needed      additional        time        to    conduct       a    pretrial

investigation and legal research.                The Court found that it was

in the interest of justice to allow the parties to complete

their investigation and that if it denied the continuance it

could deny counsel reasonable time for effective preparation and

potentially result in a miscarriage of justice.                       Shortly after the

Court    granted     Defendant’s    motion      for    a   continuance,       the     Court



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imposed the jury trial moratorium, which was later extended through

October    19,    2020.      Accordingly,      the    seventeen    days     between

Defendant’s initial appearance and his motion for a continuance are

not excluded from the speedy trial clock, but all days between

March 9, 2020 and October 19, 2020 are excluded from the speedy

trial clock.       See, e.g., United States v. Davenport, 935 F.2d

1223, 1229 (11th Cir. 1991).           So, to meet the Speedy Trial Act’s

seventy-day deadline, the trial must begin within fifty-three

days of the end of the jury trial moratorium.                      If the trial

begins on Monday, December 7, 2020 (forty-eight days after the

moratorium is scheduled to end), it will be within the Speedy

Trial    Act’s    deadline   and   there     will    be   no   violation    of   the

Speedy Trial Act.3

     The next question is whether continuing the trial until

December 7, 2020 would violate Defendant’s right to a speedy

trial under the Sixth Amendment.             “Although compliance with the

Speedy    Trial    Act    does   not   bar   Sixth    Amendment    speedy    trial

claims, ‘it will be an unusual case in which the time limits of

the Speedy Trial Act have been met but the [S]ixth [A]mendment

right to a speedy trial has been violated.’”                      Davenport, 935

F.2d at 1238-39 (quoting United States v. Saintil, 705 F.2d 415,

418 (11th Cir. 1983)).             The Sixth Amendment states: “In all

criminal prosecutions, the accused shall enjoy the right to a

3
  If either party finds the Court’s speedy trial calculations wrong,
they should file a motion for reconsideration.


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speedy and public trial[.]”          U.S. Const. amend. VI.     The Supreme

Court established a four-factor test to determine whether the

government has violated a defendant’s constitutional right to a

speedy trial.      Barker v. Wingo, 407 U.S. 514, 530 (1972).           Those

factors are: (1) “length of delay”; (2) “the reason for the

delay”; (3) “the defendant's assertion of his right”; and (4)

“prejudice to the defendant.”          United States v. Knight, 562 F.3d

1314, 1323 (11th Cir. 2009) (quoting Barker, 407 U.S. at 530).

     The Eleventh Circuit has “held that, unless the period of

delay is ‘presumptively prejudicial’ under the first factor, a

district   court    need    not   consider    the   other   factors.”        Id.

(quoting United States v. Register, 182 F.3d 820, 827 (11th Cir.

1999)).    “A   delay      becomes   ‘presumptively    prejudicial’     as   it

approaches one year.”        Id. (quoting United States v. Schlei, 122

F.3d 944, 987 (11th Cir. 1997)).             Here, the period between the

date of the indictment and the December 7, 2020 trial date is

approximately ten months.            While this delay is less than one

year, the Court assumes for purposes of today’s order that the

delay is long enough to be presumptively prejudicial.4            The Court

also assumes that Defendant has asserted his right to a speedy

trial, although his counsel failed to show cause as to why this

case should not be continued during the jury trial moratorium.
4
  At least one panel of the Eleventh Circuit has concluded that a ten-
month delay between the date of the indictment and the trial date is
“arguably” presumptively prejudicial.   United States v. Lamb, 214 F.
App'x 908, 913-14 (11th Cir. 2007) (per curiam).


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Thus, the “length of delay” and “assertion of right” factors

weigh against the Government.                But the reason for the delay

overwhelmingly        justifies    the     delay.       The    COVID-19    global

pandemic places persons’ health at substantial risk when they

gather in groups in relatively close proximity to one another,

particularly indoors where persons are talking.                      A jury trial

includes all of these risks for the trial participants.                        The

Supreme       Court    has     suggested     that      while    “negligence     or

overcrowded courts” should be weighed against the Government—

albeit “less heavily” than a “deliberate attempt to delay the

trial in order to hamper the defense,” “a valid reason, such as

a missing witness, should serve to justify appropriate delay.”

Barker, 407 U.S. at 531.           Certainly, a global pandemic that is

beyond the control of all the parties involved justifies an

appropriate delay.           Thus, the “reason for delay” factor weighs

in favor of the delay.

      If the first three Barker factors do not all weigh heavily

against the Government, then a defendant must demonstrate actual

prejudice to succeed on a constitutional speedy trial claim.

United States v. Machado, 886 F.3d 1070, 1081 (11th Cir. 2018).

“To    show     actual     prejudice,      the   defendant      must    show   (1)

oppressive      pretrial     incarceration,      (2)    his    own   anxiety   and

concern, or (3) the possibility that his defense was impaired

because of the delay.”          Id. at 1081-82.        Here, Defendant has not


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argued or presented any evidence that he has been subjected to

oppressive pretrial incarceration, that he suffered anxiety as a

result of the delay, or that his defense may be impaired because

of   the   delay.5    Accordingly,       the   present   record   does   not

establish that Defendant’s Sixth Amendment right to a speedy

trial would be violated if the trial were continued to December

7, 2020.

                               CONCLUSION

     For the foregoing reasons, the trial of this action is

continued until December 7, 2020.

     IT IS SO ORDERED, this 1st day of September, 2020.

                                         S/Clay D. Land
                                         CLAY D. LAND
                                         U.S. DISTRICT COURT JUDGE
                                         MIDDLE DISTRICT OF GEORGIA




5
  The Court notes that when Defendant was indicted, he was already in
jail on state charges.


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